Case 2:12-cr-00095-RAJ   Document 193   Filed 09/14/17   Page 1 of 7
Case 2:12-cr-00095-RAJ   Document 193   Filed 09/14/17   Page 2 of 7
Case 2:12-cr-00095-RAJ   Document 193   Filed 09/14/17   Page 3 of 7
Case 2:12-cr-00095-RAJ   Document 193   Filed 09/14/17   Page 4 of 7
Case 2:12-cr-00095-RAJ   Document 193   Filed 09/14/17   Page 5 of 7
Case 2:12-cr-00095-RAJ   Document 193   Filed 09/14/17   Page 6 of 7
Case 2:12-cr-00095-RAJ   Document 193   Filed 09/14/17   Page 7 of 7
